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BY ORDER OF THE COURTUNTED STATES DISTRICT COURT

DISTRICT OF HAWAII
CLARE E. CONNORS #7936
United States Attorney MAY 26 2022

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UNITED STATES OF AMERICA

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA, ) CR.NO. CER22-00046 LEK
)
Plaintiff, ) FILED UNDER SEAL
)
VS. ) INDICTMENT
)
MASON JORDAN, ) [18 U.S.C. §§ 2251 (a), 2251(e),
) 2422(b), 1591(a)(1), 1591(b)(2),
Defendant. ) 1592(c), 1594(a), and 2261A(2)(B)]
)

INDICTMENT

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The Grand Jury charges:
Count 1
Sexual Exploitation of a Child
(18 U.S.C. §§ 225 1(a) and (e))

On or about July 17, 2017, within the District of Hawaii, MASON
JORDAN, the defendant, did attempt to and did employ and use a minor, Minor
Victim 1, to engage in sexually explicit conduct for the purpose of producing
visual depictions of such conduct, knowing and having reason to know that such
visual depictions would be transported and transmitted using any means and
facility of interstate and foreign commerce and in and affecting such commerce,
and where the visual depictions were produced using materials that had been
mailed, shipped, and transported in and affecting interstate and foreign commerce
by any means, including by computer, and where such visual depictions were
actually transported and transmitted using a means and facility of interstate and
foreign commerce and in and affecting such commerce.

All in violation of Title 18, United States Code, Sections 2251(a) and
2251(e).

Count 2
Sexual Exploitation of a Child

(18 U.S.C. §§ 2251 (a) and (e))

On or about July 2, 2016, within the District of Hawaii, MASON JORDAN,
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the defendant, did attempt to and did employ and use a minor, Minor Victim 1, to
engage in sexually explicit conduct for the purpose of producing visual depictions
of such conduct, knowing and having reason to know that such visual depictions
would be transported and transmitted using any means and facility of interstate and
foreign commerce and in and affecting such commerce, and where the visual
depictions were produced and transmitted using materials that had been mailed,
shipped, and transported in and affecting interstate and foreign commerce by any
means, including by computer.

All in violation of Title 18, United States Code, Sections 2251(a) and
2251(e).

Count 3
Sexual Exploitation of a Child
(18 U.S.C. §§ 2251(a) and (e))

On or about July 18, 2016, within the District of Hawaii, MASON
JORDAN, the defendant, did attempt to and did employ and use a minor, Minor
Victim 1, to engage in sexually explicit conduct for the purpose of producing
visual depictions of such conduct, knowing and having reason to know that such
visual depictions would be transported and transmitted using any means and

facility of interstate and foreign commerce and in and affecting such commerce,

and where the visual depictions were produced and transmitted using materials that
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had been mailed, shipped, and transported in and affecting interstate and foreign
commerce by any means, including by computer.

All in violation of Title 18, United States Code, Sections 2251(a) and
225 1(e).

Count 4
Coercion and Enticement
(18 U.S.C. § 2422(b))

On or about January 14, 2020, within the District of Hawaii, MASON
JORDAN, the defendant, did use any facility and means of interstate and foreign
commerce, that is, the Internet and a cellular phone, to knowingly persuade,
induce, entice, and coerce an individual who had not attained the age of 18 years,
Minor Victim 2, to engage in prostitution, and attempted to do so.

All in violation of Title 18, United States Code, Section 2422(b).

Count 5
Coercion and Enticement
(18 U.S.C. § 2422(b))

On or about January 22, 2020, within the District of Hawaii, MASON
JORDAN, the defendant, did use any facility and means of interstate and foreign
commerce, that is, the Internet and a cellular phone, to knowingly persuade,

induce, entice, and coerce an individual who had not attained the age of 18 years,

Minor Victim 3, to engage in prostitution, and attempted to do so.
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All in violation of Title 18, United States Code, Section 2422(b).
Count 6
Sex Trafficking of a Child
(18 U.S.C. §§ 1591(a)(1) and 1594(a))

On or about January 14, 2020, within the District of Hawaii, MASON
JORDAN, the defendant, in and affecting interstate and foreign commerce, did
knowingly recruit, entice, transport, obtain, patronize, and solicit, by any means, a
person, Minor Victim 2, who had attained the age of 14 years but had not attained
the age of 18 years, knowing and in reckless disregard of the fact, and having had a
reasonable opportunity to observe Minor Victim 2, that Minor Victim 2 had not
attained the age of 18 years and would be caused to engage in a commercial sex
act, and attempted to do so.

All in violation of Title 18, United States Code, Sections 1591(a)(1),
1591(b)(2), 1592(c), and 1594(a).

Count 7
Sex Trafficking of a Child
(18 U.S.C. §§ 1591(a)(1) and 1594(a))

On or about January 22, 2020, within the District of Hawaii, MASON

JORDAN, the defendant, in and affecting interstate and foreign commerce, did

knowingly recruit, entice, transport, obtain, patronize, and solicit, by any means, a

person, Minor Victim 3, who had attained the age of 14 years but had not attained
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the age of 18 years, knowing and in reckless disregard of the fact, and having had a
reasonable opportunity to observe Minor Victim 3, that Minor Victim 3 had not
attained the age of 18 years and would be caused to engage in a commercial sex
act, and attempted to do so.

All in violation of Title 18, United States Code, Sections 1591(a)(1),
1591(b)(2), 1592(c), and 1594(a).

Count 8
Cyberstalking
(18 U.S.C. § 2261A(2)(B))

Between on or about April 10, 2020 and April 11, 2020, both dates being
approximate and inclusive, within the District of Hawaii, MASON JORDAN, the
defendant, with the intent to harass and cause substantial emotional distress to
another person, Adult Female 1, did use facilities of interstate and foreign
commerce, including the Internet and a cellular phone, to engage in a course of
conduct that caused, and would be reasonably expected to cause, substantial

emotional distress to Adult Female 1, and attempted to do so.

All in violation of Title 18, United States Code, Section 2261 A(2)(B).
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First Forfeiture Notice

L, The allegations in Counts 1 to 3 of this Indictment are incorporated here
for the purpose of noticing forfeitures pursuant to Title 18, United States Code,
Section 2253.

2. The United States hereby gives notice to MASON JORDAN, the
defendant, that, upon conviction of an offense in violation of Title 18, United States
Code, Section 2251, the United States will seek forfeiture, in accordance with Title
18, United States Code, Section 2253, of (a) any visual depiction described in Title
18, United States Code, Section 2252, and any book, magazine, periodical, film,
videotape, or other matter which contains any such visual depiction, which was
produced, transported, mailed, shipped, or received in violation of that section; (b)
any property, real or personal, constituting or traceable to gross profits or other
proceeds obtained from such offense; and (c) any property, real or personal, used or
intended to be used to commit or to promote the commission of such offense or any
property traceable to such property.

>. If by any act or omission of the defendant, any of the property subject
to forfeiture described in paragraph 2 of this section:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
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c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be subdivided

without difficulty,

the United States will be entitled to forfeiture of substitute property up to the value
of the property described in paragraph 2 of this section, pursuant to Title 21,
United States Code, Section 853(p), as incorporated by Title 18, United States
Code, Section 2253.

Second Forfeiture Notice

1. The allegations in Counts 4 to 5 of this Indictment are incorporated here
for the purpose of noticing forfeitures pursuant to Title 18, United States Code,
Section 2428.

2 The United States hereby gives notice to MASON JORDAN, the
defendant, that, upon conviction of an offense in violation of Title 18, United States
Code, Section 2422, the United States will seek forfeiture, in accordance with Title
18, United States Code, Section 2428, of (a) the defendant’s interest in any property,
real or personal, that was used or intended to be used to commit or to facilitate the

commission of such violation; and (b) any property, real or personal, constituting or
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derived from any proceeds that the defendant obtained, directly or indirectly, as a

result of such violation.

a

If by any act or omission of the defendant, any of the property subject

to forfeiture described in paragraph 2 of this section:

a.

B.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be subdivided

without difficulty,

the United States will be entitled to forfeiture of substitute property up to the value

of the property described in paragraph 2 of this section, pursuant to Title 21,

United States Code, Section 853(p), as incorporated by Title 28, United States

Code, Section 2461.

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Third Forfeiture Notice

The allegations in Counts 6 to 7 of this Indictment are incorporated here

for the purpose of noticing forfeitures pursuant to Title 18, United States Code,

Section 1594.
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2. The United States hereby gives notice to MASON JORDAN, the
defendant, that, upon conviction of an offense in violation of Title 18, United States
Code, Section 1591, the United States will seek forfeiture, in accordance with Title
18, United States Code, Section 1594, of (a) the defendant's interest in any property,
real or personal, that was used or intended to be used to commit or to facilitate the
commission of such violation; and (b) any property, real or personal, constituting or
derived from any proceeds that the defendant obtained, directly or indirectly, as a
result of such violation.

3 If by any act or omission of the defendant, any of the property subject
to forfeiture described in paragraph 2 of this section:

a. cannot be located upon the exercise of due diligence;

b, has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be subdivided

without difficulty,
the United States will be entitled to forfeiture of substitute property up to the value
of the property described in paragraph 2 of this section, pursuant to Title 21,

United States Code, Section 853(p), as incorporated by Title 28, United

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States Code, Section 2461.
DATED: May 26 , 2022, at Honolulu, Hawaii.
A TRUE BILL

/s/ Foreperson

FOREPERSON, GRAND JURY

SLARE E. CONN E. CONNORS #7936
eon Attorney

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Assistant U.S A omeys

United States v. Mason Jordan
Indictment

Cr. No. CR22- 000 46 LEK

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